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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND

                                           )
  STATE OF NEW YORK; STATE OF              )
  CALIFORNIA; STATE OF ILLINOIS; )
  STATE OF RHODE ISLAND; STATE )
  OF NEW JERSEY;                           )
  COMMONWEALTH OF                          )
  MASSACHUSETTS; STATE OF                  )
  ARIZONA; STATE OF COLORADO;              )
  STATE OF CONNECTICUT; STATE )
  OF DELAWARE; THE DISTRICT OF )
  COLUMBIA; STATE OF HAWAI’I;              )
  STATE OF MAINE; STATE OF                 )
  MARYLAND; STATE OF                       )
  MICHIGAN; STATE OF                       )
  MINNESOTA; STATE OF NEVADA; )
  STATE OF NORTH CAROLINA;                 )
  STATE OF NEW MEXICO; STATE               )
  OF OREGON; STATE OF                      )
  VERMONT; STATE OF                        )
  WASHINGTON; and STATE OF                 )
                                                 C.A. No. 25-cv-39-JJM-PAS
  WISCONSIN,                               )
                                           )
         Plaintiffs,                       )
                                           )
  v.                                       )
                                           )
  DONALD TRUMP, in his Official            )
  Capacity as President of the United      )
  States; U.S. OFFICE OF                   )
  MANAGEMENT AND                           )
  BUDGET; Russell Vought, in his           )
  Official Capacity as Director of the     )
  U.S. Office of Management and            )
  Budget; U.S. DEPARTMENT OF               )
  THE TREASURY; SCOTT BESSENT, )
  in his Official Capacity as Secretary of )
  the Treasury; PATRICIA COLLINS,          )
  in her Official Capacity as Treasurer    )
  of the U.S.; U.S. DEPARTMENT OF          )
  HEALTH AND HUMAN SERVICES; )
  DOROTHY A. FINK, M.D., in her            )
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  Official Capacity As Acting Secretary )
  Of Health And Human Services; U.S.    )
  DEPARTMENT OF EDUCATION;              )
  DENISE CARTER, in her Official        )
  Capacity as Acting Secretary of       )
  Education; U.S. FEDERAL               )
  EMERGENCY MANAGEMENT                  )
  AGENCY; CAMERON HAMILTON,             )
  in his Official Capacity as Acting    )
  Administrator of the U.S. Federal     )
  Emergency Management Agency; U.S. )
  DEPARTMENT OF                         )
  TRANSPORTATION;                       )
  SEAN P. DUFFY, in his Official        )
  Capacity as Secretary of              )
  Transportation; U.S. DEPARTMENT )
  OF LABOR; VINCE MICONE, in his        )
  Official Capacity as Acting Secretary )
  of Labor; U.S. DEPARTMENT OF          )
  ENERGY; CHRISTOPHER ALLEN             )
  WRIGHT, in his Official Capacity as   )
  Secretary of the U.S. Department of   )
  Energy; U.S. ENVIRONMENTAL            )
  PROTECTION AGENCY; LEE                )
  MICHAEL ZELDIN, in his Official       )
  Capacity as Administrator of the U.S. )
  Environmental Protection Agency;      )
  U.S. DEPARTMENT OF                    )
  HOMELAND SECURITY; KRISTI             )
  NOEM, in her Capacity as Secretary    )
  of the U.S. Department of Homeland    )
  Security; U.S. DEPARTMENT OF          )
  JUSTICE; JAMES R. McHENRY III,        )
  in his Official Capacity as Acting    )
  Attorney General of the U.S.          )
  Department of Justice; THE            )
  NATIONAL SCIENCE                      )
  FOUNDATION; and DR.                   )
  SETHURAMAN PANCHANATHAN,              )
  in his Capacity as Director of the    )
  National Science Foundation,          )
                                        )
         Defendants.                    )
                                        )
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                                          ORDER

         First, to be clear and to reaffirm the Court’s Orders, the Temporary

 Restraining Order (“TRO”) permits the Defendants to limit access to federal funds

 “on the basis of the applicable authorizing statutes, regulations, and terms.” ECF

 No. 50 at 12. The February 10, 2025 Order (ECF No. 96) does not “bar[] both the

 President and much of the Federal Government from exercising their own lawful

 authorities to withhold funding without the prior approval of the district court.” ECF

 No. 102 at 2. Neither the TRO (ECF No. 50), nor the Court’s subsequent Order (ECF

 No. 96) require the Defendants to seek “preclearance” from the Court before acting to

 terminate funding when that decision is based on actual authority in the applicable

 statutory, regulatory, or grant terms.

         Second, the Court will act with alacrity in issuing an Order on the Defendants’

 Motion to Stay (ECF No. 100).

         Third, the Defendants have filed two additional motions relating to the TRO:

 the “Emergency Motion Requesting Ruling by 11 a.m. on February 12 for Permission

 to Continue Withholding [Federal Emergency Management Agency (“FEMA”)] and

 Other    Funding” (ECF     No. 102)   and   the   “Supplemental    Motion Requesting

 Permission to Continue Payment Review Processes” (ECF No. 103). As to FEMA

 funds to New York City, the Defendants represent that they intend to provide “notice

 to New York City regarding the funding pause and will provide the information and

 process required by regulation and the terms and conditions of the award.” ECF No.

 102-1 at ¶ 13. Because the Defendants are seeking to terminate funding “on the basis
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 of the applicable authorizing statutes, regulations, and terms,” ECF No. 50 at 12

 (emphasis added), the Court sees no need for further clarification. Finally, nothing

 in the TRO prevents the Defendants from continuing to use routine processes that

 the Payment Management Services (PMS) asserts it has used “for decades,” ECF No.

 103-1 at ¶ 4, before the Defendants imposed the categorical funding freeze that is the

 subject of the TRO.

       Therefore, the Court REAFFIRMS the TRO, DENIES the Defendants’

 “Emergency Motion Requesting Ruling by 11 a.m. on February 12 for Permission to

 Continue Withholding FEMA and Other Funding” (ECF No. 102) and DENIES as

 moot the Defendants’ “Supplemental Motion Requesting Permission to Continue

 Payment Review Processes” (ECF No. 103).



 IT IS SO ORDERED.


 /s/John J. McConnell, Jr.
 _________________________________
 John J. McConnell, Jr.
 Chief Judge
 United States District Court for the District of Rhode Island
 February 12, 2025
